
982 So.2d 1240 (2008)
D.G.B., A Child, Appellant,
v.
STATE of Florida, Appellee.
No. 5D07-1636.
District Court of Appeal of Florida, Fifth District.
May 30, 2008.
James S. Purdy, Public Defender, and Leonard R. Ross, Assistant Public Defender, Daytona Beach, for Appellant.
Bill McCollum, Attorney General, Tallahassee, and Kellie A. Nielan, Assistant Attorney General, Daytona Beach, for Appellee.
*1241 GRIFFIN, J.
D.G.B. ["Defendant"], a child, appeals his convictions for Carjacking with a Firearm, Aggravated Battery with a Firearm, Grand Theft of a Firearm, and Grand Theft Third Degree. Gary Edwards McAdams ["Victim"] sold firearms and firearm related products. On November 26, 2007, he was at the Central Florida Fairgrounds for a gun show. That night, he packed the items that he had brought for the show into a trailer, which he pulled behind his truck. After locking both the trailer and the truck, Victim went to the restroom. As he was exiting the restroom, Victim was accosted by three men. Two of the assailants had guns and pushed him back into the restroom, while the third waited near its entrance. The men then severely pistol-whipped Victim and took his keys and money. One of the men left to start up Victim's truck. Another of the assailants then threatened to kill Victim if he moved or said anything.
The issue on appeal is whether the trial court erred in failing to grant Defendant's motion for mistrial based on two discovery violations by the State. After examination of the record and considering various curative measures fashioned by the trial court, it is clear that a mistrial was not required in order to ensure that Defendant received a fair trial.
AFFIRMED.
MONACO and LAWSON, JJ., concur.
